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                                                                             ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT                                                 DOC #:
SOUTHERN DISTRICT OF NEW YORK                                                DATE FILED: 10/20/2021
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                                                                     :
 BARNET MARINE INC.,                                                 :
                                              Plaintiff,             :
                                                                     : 21-CV-5071 (VEC)
                            -against-                                :
                                                                     :     ORDER
                                                                     :
 LAUREL D SHIPPING LLC now known as LAUREL :
 SHIPPING LLC,                                                       :
                                              Defendant.             :
                                                                     :
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VALERIE CAPRONI, United States District Judge:

          WHEREAS on October 20, 2021, the parties appeared for a status conference in this

matter;

          IT IS HEREBY ORDERED that for the reasons stated at the conference:

   1. Plaintiff’s responses in opposition to the motion to vacate and the motion for partial

          judgment on the pleadings are due no later than Friday, November 12, 2021.

          Defendant’s replies in support of its motions are due no later than Wednesday,

          November 24, 2021.

   2. Plaintiff’s motion to strike portions of Defendant’s answer is DENIED.

   3. Discovery is STAYED pending resolution of Defendant’s motion for judgment on the

          pleadings.

   The Clerk of Court is respectfully directed to close the open motion at docket entry 40.



SO ORDERED.
                                                      _________________________________
Date: October 20, 2021                                      VALERIE CAPRONI
      New York, NY                                          United States District Judge
